Case 2:04-cv-02924-tmp Document 11 Filed 06/06/05 Page 1 of 2 Page|D 20

UNITED STATES DISTRICT COURT FILED E"f` g _,.._: `,_ D._G.
WESTERN DISTRICT OF TENNESSEE

WESTERN DIvlsIoN 05 JUN -6 PH 3= 59

JUDY WOODRUFF fub TENNESSEE ) mem u.s. east cit
FARMERS INSURANCE CoMPANIEs, ) w.\:). ce m i“'f:f-¥PP‘HFS
)
Plaintiff )
vs_ ) ease NO. 04-2924 Ml/P
)
UNITED sTATEs oF AMERICA, )
)
Defendant )

ORDER GRANTING MOTION FOR LEAVE TO FILE AMENDED ANSWER
Upon the unopposed motion of the defendant for leave to file an amended answer to add
an affirmative defense and for good cause shown, IT IS

ORDERED that the defendant is given leave to file an amended answer to the complaint

within 10 days of the entry of this order. M

TU M. PHAM
U.S. MAGISTRATE

DATED: igka (1; SWF

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02924 was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Nicholas J. Owens
OWENS LAW FIRM
214 Adams Ave.
i\/lemphis7 TN 38103

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Tu Pham
US DISTRICT COURT

